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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF ARKANSAS
                                        EL DORADO DIVISION

IN RE: Sarah Lee Marshall                                               CASE NO:      1:24-bk-70660 T
                                                                                           Chapter 13
            ORDER CONFIRMING CHAPTER 13 PLAN AS MODIFIED ON July 26, 2024

    The Court finds that the modified plan as filed by the debtor on July 26, 2024 complies with all provisions
of Chapter 13 and with all other provisions of Title 11 of the United States Codes; that all fees, charges, or
amounts required under Chapter 123 of Title 28 or by the plan, to be paid before confirmation, have been
paid; that the plan has been proposed in good faith and not by any means forbidden by law; that the plan
complies with Section 1325 of the United States Bankruptcy Code and that the plan should be confirmed .
Therefore,

      IT IS ORDERED:

    1. All objections to the modified plan are withdrawn or, by entry of this order, overruled. The plan should
be and hereby is confirmed. To effectuate the plan, the debtor shall pay to the Trustee according to the plan ,
which plan shall be in compliance with applicable federal law. The payments shall continue until further orders
of the court.

    2. Notwithstanding any plan term to the contrary, the debtor may not obtain a refund or disbursement from
the trustee without a court order after notice and hearing, except that upon conversion to a Chapter 7 case ,
the Trustee is ordered to return undistributed postpetition wages or regular income to the debtor unless
otherwise ordered by the court.

    3. Notwithstanding the provisions of the chapter 13 plan, the Trustee shall receive such percentage fee of
plan payments as may be periodically fixed by the Attorney General pursuant to 28 U .S.C. Section 586 and
pursuant to 11 U.S.C. Section 1326(b)(2).

    4. Whenever the plan confirmed by this order refers to the debt, debts, claim or claims of creditors, such
reference shall be construed to mean allowed claim or allowed claims. The total amount of an allowed claim
shall be the amount stated on a proof of claim properly filed by or on behalf of such creditor, unless the Court
determines a different amount following the filing of an objection to such claim .

IT IS SO ORDERED
Date: 08/19/2024                                                        /s/ Richard D. Taylor
                                                                          Richard D. Taylor
                                                                       U.S. Bankruptcy Judge


cc:     Jack W Gooding
        Dickerson Law Firm (Ach)
        Sarah Lee Marshall
        All Creditors
